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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA


ALEXANDRE PELLETIER, Individually
and On Behalf of All Others Similarly             Hon. Michael M. Baylson
Situated,
                                                  No. 2:17-cv-05114-MB
                               Plaintiff,
                                                  CLASS ACTION
                   - v. -
ENDO INTERNATIONAL PLC, RAJIV                     ORAL ARGUMENT REQUESTED
KANISHKA LIYANAARCHCHIE
DE SILVA, SUKETU P. UPADHYAY, AND
PAUL V. CAMPANELLI

                               Defendants.


          LEAD PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
           MOTION FOR CLASS CERTIFICATION AND APPOINTMENT
             OF CLASS REPRESENTATIVE AND CLASS COUNSEL


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       Pursuant to Federal Rule of Civil Procedure 23, Lead Plaintiff Park Employees’ and

Retirement Board Employees’ Annuity and Benefit Fund of Chicago (“Lead Plaintiff” or “Chicago

Parks”) respectfully requests that the Court: (1) certify the Class (defined below); (2) appoint Lead

Plaintiff as Class Representative; and (3) appoint Bleichmar Fonti & Auld LLP (“BFA”) as Class

Counsel, with Elliott Greenleaf, P.C. as Class Liaison Counsel.1

                                 PRELIMINARY STATEMENT

       “[I]t is well-settled that the class action is a particularly appropriate vehicle for adjudication

of federal securities cases.” City of Sterling Heights Gen. Emps.’ Ret. Sys. v. Prudential Fin., Inc.,

2015 WL 5097883, at *13 (D.N.J. Aug. 31, 2015). This case is no exception. Lead Plaintiff asserts

securities fraud claims based on Defendants’ false and misleading statements that Endo was

earning record profits, despite “fac[ing] intense competition,” and their attribution of Endo’s

results to sustainable business practices. In reality, both Endo and its subsidiary Par (acquired in

September 2015) engaged in a scheme to conceal that they were generating hundreds of millions

in profits from extraordinary price increases on generic drugs. This conduct was directly contrary

to Defendants’ public statements, including that Endo was “not relying on price increases” and

had “not been dependent on pricing.” (¶¶49, 66.)

       Pursuant to Rule 23(a) and Rule 23(b)(3), Lead Plaintiff now seeks certification of the

following Class:

       All persons and entities who purchased or otherwise acquired the ordinary shares
       of Endo from March 2, 2015 through February 27, 2017, inclusive (the “Class
       Period”) and were damaged thereby.2


1
  Capitalized terms not defined herein have the meanings stated in the operative Complaint (ECF
62). All “¶__” references are to the Complaint. Unless otherwise noted, all emphasis is added and
all internal citations and quotation marks are omitted.
2
 Excluded from the Class are (i) Defendants and any affiliates or subsidiaries thereof, (ii) present
and former officers and directors of Endo and its subsidiaries or affiliates, and their immediate
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        Rule 23’s requirements are amply satisfied.

        First, Rule 23(a)’s prerequisites of numerosity, commonality, typicality, and adequacy are

satisfied. As is true in most class actions, numerosity and commonality plainly exist here, as

joinder of the many thousands of members of the proposed Class would be wholly impracticable,

and this securities fraud action raises numerous common questions of law and fact, including as to

Defendants’ misrepresentations and omissions, materiality, scienter, and damages. Typicality and

adequacy are also easily satisfied: Chicago Parks is the quintessential institutional investor lead

plaintiff contemplated under the PSLRA. Proposed Class Counsel and Class Liaison Counsel are

highly experienced, have vigorously pursued Class members’ claims for over two years, and are

fully committed to maximizing Class members’ recovery, including by taking this action to trial.

        Second, Rule 23(b)(3)’s predominance and superiority requirements are readily satisfied.

Questions common to all Class members predominate over any questions affecting only individual

Class members. In a securities class action asserting claims under Section 10(b) of the Securities

Exchange Act of 1934 (the “Exchange Act”), the predominance requirement is synonymous with

the element of reliance. Where securities trade in an efficient market, as here, the fraud-on-the-

market doctrine establishes class-wide reliance. See Basic Inc. v. Levinson, 485 U.S. 224 (1988).

As explained below, overwhelming evidence, including as summarized in the accompanying

expert report of Zachary Nye, Ph.D., of Stanford Consulting Group, Inc. (the “Nye Report”),

confirms that Endo ordinary shares traded in an efficient market during the Class Period. (See



family members (as defined in Item 404 of SEC Regulation S-K, 17 C.F.R. § 229.404,
Instructions (1)(a)(iii) & (1)(b)(ii)); (iii) Defendants’ liability insurance carriers, and any affiliates
or subsidiaries thereof; (iv) any entity in which any Defendant has or has had a controlling interest;
(v) Endo’s employee retirement and benefits plan(s); and (vi) the legal representatives, heirs,
estates, agents, successors, or assigns of any person or entity described in the preceding five
categories.



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Fonti Declaration Ex. 2.)3 Indeed, Defendants have no basis to dispute market efficiency: millions

of Endo ordinary shares were actively traded on the NASDAQ, a paradigmatic efficient market.

Proceeding as a class action is also superior to other available methods for fairly and efficiently

adjudicating Class members’ claims.

                                   STATEMENT OF FACTS

       This action arises from a fraudulent scheme that will be demonstrated with Class-wide,

common proof of Defendants’ conduct. As the Complaint alleges, Defendants engaged in a

systematic, concealed strategy to raise prices on Endo’s generic drugs; these price increases were

extraordinary and drove at least roughly one-third of Endo’s generics segment’s adjusted income.

(¶6.) Moreover, Defendants were well aware that the generic drug industry was rife with price-

fixing and allocation of markets and customers, and as Defendants knew, this anticompetitive, yet

precarious, environment contributed to the success of their price increase strategy.

       Nonetheless, Defendants repeatedly made fraudulent statements about Endo’s generic drug

pricing, sources of revenues, and market conditions. To dispel any notion that Endo was engaged

in price increases, Defendants: (i) categorically denied reliance on price (¶¶49, 66, 192, 202);

(ii) repeatedly attributed Endo’s generic segment’s positive financial results to durable sources

such as new launches, “favorable [product] mix,” “increases in demand,” and other expected

factors in a competitive environment (see ¶¶191, 194, 196, 198, 201, 204, 211, 215, 218); and

(iii) repeatedly and falsely claimed that Endo faced “intense competition from other generic drug

manufacturers,” but was nonetheless earning record profits (¶¶50, 186(a)).




3
 Declaration of Joseph A. Fonti in Support of Lead Plaintiff’s Motion for Class Certification and
Appointment of Class Representative and Class Counsel, filed herewith.



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       Endo’s profits from its price-increase scheme peaked in September 2015, when it closed

on its “transformative” $8 billion acquisition of Par. The transaction was fueled by $1.3 billion in

Endo’s own shares paid to Par’s shareholders, as well as $2.3 billion raised by a secondary share

offering, and various other financing arrangements. (¶¶11, 57.)

       Hidden from shareholders’ view, Defendants’ scheme began to unravel in December 2015

when the Connecticut Attorney General served Endo with a subpoena probing the Company’s

generic drug pricing. Endo delayed disclosing the subpoena for five months. ¶13; see also

Pelletier v. Endo Int’l PLC, No. 17-CV-5114, 2020 WL 759410, at *12 n.7 (E.D. Pa. Feb. 14,

2020). Defendants’ ability to continue the scheme came to a screeching halt, as did their profit

stream from the price increases. (¶¶67-68.) Unable to use price increases to bolster profits, Endo’s

financial performance declined precipitously through the first half of 2016, and by the fall of 2016,

CEO De Silva and CFO Upadhyay were fired. (¶80.) Then, on November 3, 2016, Bloomberg

reported for the first time that Endo was a target of law enforcement for manipulation of generic

drug prices, calling into question the Company’s generic drug pricing practices and the

sustainability of profits. (¶¶14, 81, 260-61.) That day, Endo’s share price plummeted 19.5% to

close at $14.63 on heavy trading volume. (¶¶82, 262.)

       Finally, on February 28, 2017, just after the close of the Class Period, the Company

announced a massive $3.5 billion impairment charge driven by a $2.85 billion permanent decline

in the value of Endo’s U.S. generic drug business segment. (¶264.) All told, Endo’s share price

fell from a Class Period-high of over $90 to just $12.82. (¶¶11, 265.)

                                          ARGUMENT

       A.      Class Certification Standards

       An action may be certified as a class action if the four prerequisites of Rule 23(a)

(numerosity, commonality, typicality, and adequacy) are met, and the action qualifies under one


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of Rule 23(b)’s subdivisions (here, Rule 23(b)(3)). Class certification is “especially appropriate

in securities fraud cases wherein there are many individual plaintiffs who suffer damages too small

to justify a suit against a large corporate defendant.” In re Heckmann Corp. Sec. Litig., No. 10-

cv-378, 2013 WL 2456104, at *13-14 (D. Del. June 6, 2013).

       Rule 23 must be satisfied by a preponderance of the evidence. Williams v. Jani-King of

Phila. Inc., 837 F.3d 314, 319 (3d Cir. 2016). As the Supreme Court has cautioned, however,

“Rule 23 grants courts no license to engage in free-ranging merits inquiries at the certification

stage. Merits questions may be considered to the extent—but only to the extent—that they are

relevant to determining whether the Rule 23 prerequisites for class certification are satisfied.”

Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 466 (2013); see also Erica P. John

Fund, Inc. v. Halliburton Co., 563 U.S. 804, 812 (2011) (“Halliburton I”) (securities fraud plaintiff

need not prove loss causation to obtain class certification).

       B.      This Action Meets the Requirements of Rule 23(a)

               1.      Numerosity Is Established

       Rule 23(a)’s “numerosity” requirement is met if “the class is so numerous that joinder of

all members is impracticable.” Fed. R. Civ. P. 23(a)(1). “There is no minimum number of

members needed for a suit to proceed as a class action.” Marcus v. BMW of N. Am., LLC, 687

F.3d 583, 595 (3d Cir. 2012). However, a showing that the “potential number of plaintiffs exceeds

40” will generally satisfy numerosity. Id. “[C]ourts have recognized a presumption that the

numerosity requirement is satisfied when a class action involves a nationally traded security.” In

re CIGNA Corp. Sec. Litig., No. 02–cv-8088, 2006 WL 2433779, at *2 (E.D. Pa. Aug. 18, 2006).

       Here, numerosity is beyond dispute.         The proposed Class consists of thousands of

members, if not more. During the Class Period, Endo had between 177.5 million and 226.4 million

ordinary shares outstanding, and Endo ordinary shares had an average weekly volume on the


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NASDAQ of over 26 million shares. (Nye Report ¶25.) Accordingly, certification of the class is

ideal where, as here, the joinder of this vast number of investors would be impractical. See, e.g.,

CIGNA, 2006 WL 2433779, at *2 (numerosity satisfied where “one hundred and forty million

shares . . . were outstanding during the class period, and the stock was actively traded”); W. Palm

Beach Police Pension Fund v. DFC Glob. Corp., No. CV 13-6731, 2016 WL 4138613, at *7

(E.D. Pa. Aug. 4, 2016) (numerosity satisfied where “stock traded on the NASDAQ” and “there

were millions of shares of stock outstanding”); Roofer’s Pension Fund v. Papa, 333 F.R.D. 66, 74

(D.N.J. 2019) (“Perrigo”) (numerosity satisfied where “more than 100 million shares” were

outstanding, with “average weekly trading volume of approximately 9.5 million shares”).

               2.      There Are Questions of Law and Fact Common to the Class

       The “commonality” requirement under Rule 23(a) is met if “there are questions of law or

fact common to the class.” Fed. R. Civ. P. 23(a)(2). This requirement is “not particularly

demanding,” Prudential, 2015 WL 5097883, at *8, and is satisfied where proposed class

representatives share “at least one question of fact or law with the grievances of the prospective

class.” Reyes v. Netdeposit, LLC, 802 F.3d 469, 486 (3d Cir. 2015); see also In re Novo Nordisk

Sec. Litig., No. 3:17-cv-00209, 2020 WL 502176, at *5 (D.N.J. Jan. 31, 2020) (“The threshold for

establishing commonality is straightforward: ‘The commonality requirement will be satisfied if

the named plaintiffs share at least one question of fact or law with the grievances of the prospective

class.’”); CIGNA, 2006 WL 2433779, at *3 (“single common issue may satisfy” commonality).

       This common contention need only be “of such a nature that it is capable of classwide

resolution—which means that determination of its truth or falsity will resolve an issue that is

central to the validity of each one of the claims in one stroke.” In re Merck & Co., Inc. Sec. Litig.,

Nos. 05-1151 SRC, 05-2367 SRC, 2013 WL 396117, at *4 (D.N.J. Jan. 30, 2013).                     The

“commonality requirement is readily satisfied in securities fraud cases.” DFC Glob. Corp., 2016


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WL 4138613, at *8. “Courts in this Circuit have recognized that securities fraud cases often

present a paradigmatic common question of law or fact of whether a company omitted material

information or made misrepresentations that inflated the price of its stock.” Perrigo, 333 F.R.D.

at 74–75.

       Here, Defendants have no basis to dispute commonality. Lead Plaintiff’s and proposed

Class members’ claims arise out of similar misstatements and omissions, raising a host of common

questions, such as:

           Whether the federal securities laws were violated by Defendants’ conduct as alleged;

           Whether Defendants made any untrue statements of material fact or omitted to state
            any material facts necessary to make statements made, in light of the circumstances
            under which they were made, not misleading;

           Whether Endo and the Individual Defendants acted with the requisite level of scienter
            under Section 10(b) of the Exchange Act;

           Whether the Individual Defendants were controlling persons of the Company under
            Section 20(a) of the Exchange Act;

           Whether and to what extent the prices of Endo ordinary shares were artificially inflated
            or maintained during the Class Period due to the alleged false and misleading
            statements or omissions;

           Whether reliance is presumed under the fraud-on-the-market doctrine; and

           Whether Lead Plaintiff and other members of the Class suffered damages, as well as
            the appropriate measure thereof.

       Courts have repeatedly held that these exact types of common questions satisfy

Rule 23(a)(2)’s requirement of common issues.          Novo Nordisk, 2020 WL 502176, at *5

(commonality established where “the Amended Complaint alleges a common course of conduct

arising from materially false and misleading statements and omissions Defendants made to the

investing public”); CIGNA, 2006 WL 2433779, at *3 (the “existence, nature and significance of

[defendant’s] alleged misrepresentations are therefore issues common to all class members”).



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               3.      Lead Plaintiff’s Claims Are Typical of the Class

       Rule 23(a)’s “typicality” requirement is met when “the claims or defenses of the

representative parties are typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3).

       As is true for commonality, typicality “does not require that the putative class members all

share identical claims.” Perrigo, 333 F.R.D. at 75 (citing In re Warfarin Sodium Antitrust Litig.,

391 F.3d 516, 531-32 (3d Cir. 2004)). “The standard for demonstrating typicality is undemanding

and requires that ‘the claims of the named plaintiffs and putative class members involve the same

conduct by the defendant.’” Perrigo, 333 F.R.D. at 75 (quoting Newton v. Merrill Lynch, Pierce,

Fenner & Smith, Inc., 259 F.3d 154, 183-84 (3d Cir. 2001)).

       Typicality is unequivocally established here.       Lead Plaintiff and Class members all

purchased Endo ordinary shares and assert the same Section 10(b) claims, based on the same

misstatements and omissions by Defendants, and the same Section 20(a) claim of “control person”

liability. Moreover, Lead Plaintiff is not subject to any unique defenses, much less any that are

“both inapplicable to many members of the class and likely to become a major focus of the

litigation.” In re Schering Plough ERISA Litig., 589 F.3d 585, 599 (3d Cir. 2009).

       Because Lead Plaintiff’s “claims arise from the very same alleged Exchange Act violations

as those that give rise to the claims of the absent class members,” typicality is satisfied. Merck,

2013 WL 396117, at *5; see also Novo Nordisk, 2020 WL 502176, at *6 (“[T]ypicality is clearly

satisfied because Plaintiffs’ claims arise from the same course of conduct that gave rise to the

claims of all other Class members and are based on the same legal theory.”); Prudential, 2015 WL

5097883, at *9 (typicality satisfied where “[t]he factual and legal predicates of [the proposed class

representative’s] claims are the same as those for the class members”); CIGNA, 2006 WL 2433779,

at *3 (typicality satisfied where proposed class representatives, like other class members,




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“purchased CIGNA common stock at an inflated price caused by allegedly fraudulent public

statements of CIGNA executives, and suffered losses as a result”).

               4.      Lead Plaintiff, Class Counsel, and Class Liaison Counsel Will Fairly
                       and Adequately Protect the Interests of the Class

       Rule 23(a)’s “adequacy” prong requires that the proposed class representatives “will fairly

and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). The crux of this inquiry

is whether the proposed class representatives are “part of the class and possess the same interest

and suffer the same injury as the class members.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591,

594-95 (1997). Adequacy requires that: (1) “the named plaintiff’s interests must be sufficiently

aligned with the interests of the absentees;” and (2) “the plaintiff’s counsel must be qualified to

represent the class.” Perrigo, 333 F.R.D. at 76; see also In re Warfarin, 391 F.3d at 532. Alleged

conflicts only defeat adequacy where they are “fundamental,” meaning that “‘some class members

claim to have been harmed by the same conduct that benefitted other members of the class.’”

Dewey v. Volkswagen Aktiengesellschaft, 681 F.3d 170, 184 (3d Cir. 2012).

       The Court has already determined that Chicago Parks is qualified and appropriate to act as

Lead Plaintiff, and that proposed Class Counsel are qualified and appropriate to act as Lead

Counsel. (See ECF 57.) Lead Plaintiff is unquestionably adequate, having vigorously pursued the

proposed Class’s claims since the inception of the case, through Defendants’ motion to dismiss,

and into discovery, propounding numerous document requests and interrogatories, serving a dozen

subpoenas, and moving to compel additional discovery from Defendants.4 Lead Plaintiff continues

to be fully committed to actively prosecuting the action in the best interest of the Class.



4
 See Declaration of Dean Niedospial in Support of the Motion of Park Employees’ and Retirement
Board Employees’ Annuity and Benefit Fund of Chicago for Class Certification (the “Niedospial
Declaration”), filed herewith.


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(Niedospial Declaration ¶6.) Lead Plaintiff is not subject to any unique defenses, and based on its

purchases of Endo ordinary shares during the Class Period, Lead Plaintiff’s interests are directly

aligned with the interests of other Class members, all of whom were injured by the same materially

false statements and omissions. See In re Schering-Plough/ENHANCE Sec. Litig., No. 2:08-cv-

00397 (DMC) (JAD), 2012 WL 4482032, at *6 (D.N.J. Sept. 25, 2012) (“‘[W]hen Lead Plaintiffs

have a strong interest in establishing liability under federal securities law, and seek similar

damages for similar injuries, the adequacy requirement can be met.’”; adequacy satisfied where

plaintiffs “purchased Schering securities during the Class Period and have been injured by the

allegedly wrongful course of conduct at issue”); CIGNA, 2006 WL 2433779, at *4 (same).

       Lead Plaintiff has further demonstrated its commitment to monitor and supervise the

prosecution of this action on behalf of the Class, which is “all that is required.” DFC Glob. Corp.,

2016 WL 4138613, at *10; Novo Nordisk, 2020 WL 502176, at *7 (adequacy satisfied based on

lead plaintiffs’ “commitment to litigation, shared interests with members of the purported Class,

and hiring of experienced counsel”). Underscoring its vigorous advocacy for the Class’s interests,

Lead Plaintiff expended necessary resources to challenge Defendants’ recent improper settlement

of Public Employees’ Retirement System of Mississippi v. Endo Int’l plc, et al., No. 2017-2081-

MJ (Pa. Ct. Comm. Pl. Chester Cty.) (“MPERS”), a class action that asserted claims under Section

11 of the Securities Act of 1933. While MPERS involved entirely different facts and claims than

this action, Defendants nonetheless sought to release the claims asserted in this action on behalf

of purchasers of Endo stock between June 5 and June 10, 2015, who are members of both the

MPERS class and the Class here. The purported release is improper because the two actions have

entirely different factual predicates, the MPERS notice failed to disclose the purported release of




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claims in this action, and Defendants obtained no meaningful consideration for it. Lead Plaintiff

thus objected on behalf of Class members whose rights would be impaired.5

       Moreover, the PSLRA was intended to “increase the likelihood that institutional investors

will serve as lead plaintiffs.” See H.R. Conf. Rep. No. 104- 369 at 34 (1995) (Conf. Rep.). Chicago

Parks, which manages more than $350 million for over 2,800 beneficiaries (Niedospial Declaration

¶2), is the paradigmatic institutional investor that the PSLRA envisioned as a class representative.

See In re Cendant Corp. Litig., 264 F.3d 201, 273 (3d Cir. 2001) (recognizing PSLRA’s preference

for appointing institutional investors as lead plaintiffs). In addition to its role as Lead Plaintiff in

this action, Chicago Parks is currently a named plaintiff in a class action for breach of fiduciary

duties, In re Viacom Inc. Stockholders Litig., C.A. No. 2019-0948-JRS (Del. Ch.).

       Finally, Lead Plaintiff has protected the interests of the Class by retaining and overseeing

BFA as Lead Counsel. BFA is highly experienced in litigating securities class actions, has, and

will, vigorously prosecute the claims of the proposed Class, and is “qualified, experienced, and

generally able to conduct the proposed litigation.” Schering-Plough, 2012 WL 4482032, at *6;

see also CIGNA, 2006 WL 2433779, at *4 (class counsel “are well-qualified, experienced, and

able to conduct the mechanics of this litigation on behalf of the proposed class”); ECF 57 at 13 (in

appointing BFA as Lead Counsel, finding “no question” that BFA satisfies the “adequacy of

representation requirement”). Lead Counsel have a proven track record in prosecuting complex

securities class actions like this one, establishing their adequacy for appointment as Class Counsel.

(See Fonti Declaration Ex. 1 (Class Counsel resume).) Proposed Class Liaison Counsel Elliott



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  The MPERS trial court approved the settlement over Lead Plaintiff’s objection, and the matter
is currently on appeal. Nos. 369 EDA 2020, 370 EDA 2020 (Pa. Super. Ct.). Lead Plaintiff
maintains that the purported release in MPERS is wholly inapplicable to the Class, and to the
extent Defendants claim otherwise, will submit further argument to the Court if needed.



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Greenleaf, P.C. is also highly experienced with securities and other complex commercial litigation.

(See Myers Declaration6 Ex. 1 (Class Liaison Counsel resume).) Lead Counsel’s adequacy also is

demonstrated by the substantial work in investigating and prosecuting this action thus far.

Accordingly, Lead Plaintiff respectfully submits that proposed Class Counsel satisfy the adequacy

requirement of Rule 23(a)(4).

       C.      The Requirements of Rule 23(b) Are Satisfied

       Lead Plaintiff seeks class certification pursuant to Rule 23(b)(3), which requires that

“questions of law or fact common to class members predominate over any questions affecting only

individual members, and that a class action is superior to other available methods for fairly and

efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Both requirements are met.

               1.     Common Questions of Law and Fact Predominate

       The Supreme Court has held that “[p]redominance is a test readily met in certain cases

alleging . . . securities fraud.” Amchem Prods., Inc., 521 U.S. at 625. “Considering whether

questions of law or fact common to class members predominate begins . . . with the elements of

the underlying cause of action.” Halliburton I, 563 U.S. at 809. “[T]he predominance inquiry

turns on whether the evidence necessary to prove the essential elements of the underlying claims

will vary from class member to class member, causing the Court to engage in individual treatment

of the issues.” Perrigo, 333 F.R.D. at 78-79.

       A plaintiff seeking class certification does not need to prove that “each elemen[t] of [her]

claim [is] susceptible to classwide proof.” Amgen, 568 U.S. at 469. Rather, “[w]hen common




6
 Declaration of Timothy T. Myers in Support of Lead Plaintiff’s Motion for Class Certification
and Appointment of Class Representative and Class Counsel, filed herewith.



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questions are a significant aspect of a case and they can be resolved in a single action, class

certification is appropriate.” Novo Nordisk, 2020 WL 502176, at *8.

       Common issues plainly predominate here. To prevail under Section 10(b) of the Exchange

Act and Rule 10b-5, Lead Plaintiff must prove (1) a material omission or misrepresentation;

(2) scienter; (3) in connection with the purchase or sale of a security; (4) reliance; (5) economic

loss; and (6) loss causation.7 Dura Pharmaceuticals, Inc. v. Broudo, 544 U.S. 336, 341-42 (2005).

Significantly, the Supreme Court has held that because materiality and loss causation are common

merits issues in a securities fraud class action, proof of those elements is not a prerequisite to class

certification. See Amgen, 568 U.S. at 467 (materiality); Halliburton I, 563 U.S. at 812-13 (loss

causation). Scienter is another common issue. See, e.g., Merck, 2013 WL 396117, at *12

(“Defendants’ state of mind” was common issue).

       Thus, whether common questions predominate for Lead Plaintiff’s Section 10(b) claim

“turns on the element of reliance.” Halliburton I, 563 U.S. at 809.

       Lead Plaintiff will demonstrate Class-wide reliance under the “fraud-on-the-market”

presumption of reliance, which dispenses with the requirement that each Class member prove

individual reliance upon Defendants’ alleged misstatements and/or omissions. The fraud-on-the-

market presumption is “based on the hypothesis that, in an open and developed securities market,

the price of a company’s stock is determined by the available material information regarding the

company and its business,” and thus, “[m]isleading statements will . . . defraud purchasers of stock

even if the purchasers do not directly rely on the misstatements.” Basic, 485 U.S. at 241–42; see

also In re DVI, Inc. Sec. Litig., 639 F.3d 623, 631 (3d Cir. 2011) (“DVI II”) (noting that the


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  In addition, Lead Plaintiff’s “control person” claim under Section 20(a) of the Exchange Act
requires proof that the defendant controlled the primary violator, another common issue subject to
Class-wide proof. See, e.g., Merck, 2013 WL 396117 at *5.


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Supreme Court “appears to have endorsed the semi-strong form of the efficient capital market

hypothesis”).

       Under Basic and Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258 (2014)

(“Halliburton II”), Lead Plaintiff may “satisfy the reliance element of the Rule 10b-5 cause of

action by invoking a presumption that a public, material misrepresentation will distort the price of

a stock traded in an efficient market, and that anyone who purchases the stock at the market price

may be considered to have done so in reliance on the misrepresentation.” Id. at 283.

       As explained below, Endo ordinary shares traded in an efficient market, such that the fraud-

on-the-market presumption applies.

                       a.     Lead Plaintiff and the Class Are Entitled to a Presumption of
                              Reliance Because Endo Ordinary Shares Traded in an
                              Efficient Market

       To invoke the fraud-on-the-market presumption, Lead Plaintiff need only show that

Defendants’ false statements were publicly made and that Endo ordinary shares traded in an

efficient market during the Class Period. Halliburton II, 573 U.S. at 277-78; Merck, 2013 WL

396117, at *12.

       Lead Plaintiff amply demonstrates these requirements. All of the alleged misstatements

were publicly available; indeed, many were made in Endo’s SEC filings. Additionally, Endo

ordinary shares traded in an efficient market, as explained below. There is also no question that

Lead Plaintiff, and other Class members, purchased Endo ordinary shares at market prices after

the misstatements were made and before the truth was revealed. (See, e.g., ECF 62 at 118.) As a

result, the fraud-on-the-market presumption applies.

       Importantly, the Supreme Court has confirmed that the fraud-on-the-market presumption

“does not rest on a ‘binary’ view of market efficiency,” but instead is based on the “fairly modest

premise that ‘market professionals generally consider most publicly announced material


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statements about companies, thereby affecting stock market prices.’” Halliburton II, 573 U.S. at

272 (quoting Basic, 485 U.S. at 247 n.24). Lead Plaintiff need only show that the stock traded in

a “generally efficient market” at the class certification stage, Halliburton II, 573 U.S. at 279.8

       Although the Third Circuit has not definitively established any test for determining market

efficiency, courts in this Circuit regularly consider the exchange listing and the five factors first

set forth in Cammer v. Bloom, 711 F. Supp. 1264, 1286-87 (D.N.J. 1989). See, e.g., DFC Glob.

Corp., 2016 WL 4138613, at *12; Prudential, 2015 WL 5097883, at *6. The five Cammer factors

are: (1) the weekly trading volume; (2) the amount of securities analyst coverage, (3) the existence

of market makers and arbitrageurs; (4) the eligibility of the company to file a Form S-3 registration

statement, and (5) the demonstration of a cause and effect relationship between unexpected,

material disclosures and changes in the security’s prices. See DVI II, 639 F.3d at 633. Courts in

this Circuit also consider the three factors noted in Krogman v. Sterritt, 202 F.R.D. 467, 474 (N.D.

Tex. 2001): (1) the capitalization of the company; (2) the bid-ask spread of the stock; and (3) the

percentage of stock not held by insiders (the “float”). See, e.g., DVI II, 639 F.3d at 633; Prudential,

2015 WL 5097883, at *6.

       The first four Cammer factors “examine indirect indicia of market efficiency for a

particular security,” while the fifth (“Cammer 5”) looks to direct evidence. Waggoner v. Barclays

PLC, 875 F.3d 79, 94 (2d Cir. 2017), cert. denied, 138 S. Ct. 1702 (2018). However, no single

factor is dispositive. See DFC Glob. Corp., 2016 WL 4138613, at *12 (“Courts have rejected the

idea that the fifth Cammer factor is necessary to establish market efficiency.”). In all events, as



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  Importantly, Halliburton II also held that “plaintiffs need not directly prove price impact to
invoke the Basic presumption,” 573 U.S. at 279; rather, “it is incumbent upon the defendant to
show the absence of price impact.” Id. at 284 (Ginsburg, Breyer, and Sotomayor, JJ., concurring).
Defendants will be unable to do so here.



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Dr. Nye establishes, all of these factors demonstrate that Endo ordinary shares traded in an efficient

market during the Class Period. (Nye Report ¶¶16-17, 23-57.) Lead Plaintiff is thus entitled to

invoke the fraud-on-the-market presumption.

                               (1)     Endo Ordinary Shares Were Listed and Traded on the
                                       NASDAQ, a Presumptively Efficient Market

       At all relevant times, Endo ordinary shares were listed and actively traded on the

NASDAQ: specifically, on the Nasdaq Global Select Market, which has the most stringent initial

financial and liquidity listing requirements of the NASDAQ’s three market tier designations. (Nye

Report ¶¶18-22.) “[T]he listing of a security on a major exchange such as . . . the NASDAQ

weighs in favor of a finding of market efficiency,” DVI II, 639 F.3d at 634, and supports invoking

the presumption of reliance.

                               (2)     Cammer 1: Endo Ordinary Shares Traded at a Large
                                       Average Weekly Volume

       Cammer noted that an average weekly turnover “of two percent or more of the outstanding

shares would justify a strong presumption that the market for the security is an efficient one.” 711

F. Supp. at 1286; see also In re DVI Inc. Sec. Litig., 249 F.R.D. 196, 208 (E.D. Pa. 2008) (“DVI I”)

(high weekly trading volume supports a finding of market efficiency because “‘many investors are

executing trades on the basis of newly available or disseminated corporate information’”) (quoting

Cammer, 711 F. Supp. at 1286). Endo’s ordinary shares easily meet this standard, as their average

weekly trading volume during the Class Period was 11.9%—more than five times higher than

Cammer’s 2% threshold, indicating an efficient market. (Nye Report ¶¶25-26.) See, e.g., DVI I,

249 F.R.D. at 209 (1.70% average weekly trading volume justified “at a minimum, a substantial

presumption that the market for DVI’s common stock was efficient”); Pirnik v. Fiat Chrysler

Automobiles, N.V., 327 F.R.D. 38, 44 (S.D.N.Y. 2018) (2.5% average weekly trading volume

justified “strong presumption of efficiency”).


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                               (3)     Cammer 2: A Significant Number of Analysts Followed
                                       and Reported on Endo Ordinary Shares

       Endo ordinary shares were the subject of broad analyst and news coverage during the Class

Period.9 At least 44 analysts issued over 840 reports regarding Endo during the Class Period.

(Nye Report ¶¶29-30.) This factor strongly supports market efficiency. See, e.g., Perrigo, 333

F.R.D. at 82 (coverage in “over 600 analyst reports” favored efficiency); DVI I, 249 F.R.D. at 210

(coverage by three analysts “sufficient to favor a finding of market efficiency”).

                               (4)     Cammer 3: Existence of Market Makers, Institutional
                                       Investors, and Arbitrageurs

       Cammer noted that the “existence of market makers and arbitrageurs would ensure

completion of the market mechanism; these individuals would react swiftly to company news and

reported financial results by buying or selling stock and driving it to a changed price level.” 711

F. Supp. at 1286–87. This factor also strongly supports market efficiency.

       As stated above, Endo ordinary shares traded on the NASDAQ, which is widely regarded

as one of the most open, developed, and efficient exchanges in the world. NASDAQ market

participants are made up of “market makers, order-entry firms and electronic communications

networks (ECNs) that utilize NASDAQ’s trading services.” (Nye Report ¶34.) Market makers

help to ensure a liquid market for a particular stock, in which willing buyers can readily find willing

sellers, and vice versa. (Id.) During the Class Period, there were 199 active market makers that




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  As Cammer explained, “it would be persuasive to allege a significant number of securities
analysts followed and reported on a company’s stock during the class period. The existence of
such analysts would imply, for example, the [auditor] reports were closely reviewed by investment
professionals, who would in turn make buy/sell recommendations to client investors. In this way
the market price of the stock would be bid up or down to reflect the financial information contained
in the [auditor] reports, as interpreted by the securities analysts.” 711 F. Supp. at 1286.



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traded Endo stock, many of which handled a sizeable volume of shares. (Id. ¶35.) See Perrigo,

333 F.R.D. at 83-84 (“at least seventeen market makers” favored efficiency).

       Additionally, institutional investors (defined as all SEC Form 13-F filers) held significant

positions in Endo ordinary shares during the Class Period. Institutions held over 92% of the Endo

ordinary shares outstanding during the Class Period. (Nye Report ¶40 & Ex. 9.) This supports a

finding of market efficiency because the participation of sophisticated investors facilitates the

incorporation of material information into securities prices. See, e.g., Wilson v. LSB Indus., Inc.,

No. 15CIV7614RAGWG, 2018 WL 3913115, at *12 (S.D.N.Y. Aug. 13, 2018) (noting “large

number of institutional investors”).

                              (5)      Cammer 4: Eligibility to File SEC Form S-3

       Endo filed simplified SEC filings on Form S-3 before, during, and after the Class Period.

(Nye Report ¶46.) This factor supports market efficiency because companies are only permitted

to make such simplified filings if the SEC believes “that the market operates efficiently for these

companies.” Cammer, 711 F. Supp. at 1284 (quoting SEC Securities Act Release No. 6331 (Aug.

13, 1981)); see also Perrigo, 333 F.R.D. at 83 (Form S-3 filing shortly before class period

supported efficiency); In re Merck & Co., Vytorin/Zetia Sec. Litig., 2012 WL 4482041, at *5

(D.N.J. Sep. 25, 2012) (Form S-3 eligibility during class period supported efficiency).

                              (6)      Cammer 5: The Relationship Between News Events and
                                       Security Price Changes

       Cammer noted that “one of the most convincing ways to demonstrate [market] efficiency

would be to illustrate, over time, a cause and effect relationship between the company disclosures

and resulting movements in stock price.” 711 F. Supp. at 1291. Though “[c]ourts have rejected

the idea that the fifth Cammer factor is necessary to establish market efficiency,” DFC Glob.




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Corp., 2016 WL 4138613, at *12, Lead Plaintiff nonetheless provides far more than necessary

support here.10

       Specifically, to further substantiate market efficiency, Lead Plaintiff provides Dr. Nye’s

event study as a means to establish the cause and effect relationship between the company

disclosures and resulting movements in stock price, more than satisfying Cammer 5. Event studies

seek “to show that the market price of the defendant’s stock tends to respond to pertinent publicly

reported events.” Halliburton II, 573 U.S. at 280. An event study “is a statistical regression

analysis that examines the effect of an event on a dependent variable, such as a corporation’s stock

price.” United States v. Schiff, 602 F.3d 152, 173 n.29 (3d Cir. 2010). “[T]here is no dispute that

[an event study] is widely accepted in the academic community and in the courts” to prove the

cause-and-effect relationship contemplated by Cammer. Prudential, 2015 WL 5097883, at *6.

       Dr. Nye conducted an event study using a widely accepted methodology and concluded

that the price of Endo ordinary shares reflected the information disclosed to the market, and

promptly responded to the disclosure of new, material, unexpected information.11 (Nye Report

¶¶49, 51.) Specifically, Dr. Nye examined dates during the Class Period on which Endo released

quarterly or year-end financial results (id. ¶50), an objective set of events routinely used for this

purpose.   See, e.g., Perrigo, 333 F.R.D. at 84 (event study used dates of earnings-related




10
  See also Waggoner, 875 F.3d at 96-98 (“direct evidence of price impact under Cammer 5,”
such as an event study, “is not always necessary to establish market efficiency and invoke the
Basic presumption”).
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   Among the decisions recognizing Dr. Nye’s opinions as evidence for market efficiency are
Heckmann Corp., 2013 WL 2456104, at *13; Hayes v. MagnaChip Semiconductor Corp., No. 14-
cv-01160-JST, 2016 WL 7406418, at *7 n.3 (N.D. Cal. Dec. 22, 2016) (noting that “Nye faithfully
followed the Cammer factors”); and In re Banc of Cal. Sec. Litig., 326 F.R.D. 640, 648 (C.D. Cal.
2018) (describing Dr. Nye’s report as “key evidence”).



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announcements); Prudential, 2015 WL 5097883, at *7 (event study examined dates of “earnings

announcements or changes in earnings guidance”).

       This event study revealed that Endo ordinary shares reacted with statistical significance at

the 5% significance level (sometimes called the 95% confidence level) on 62.5% of the eight days

during the Class Period in which earnings were announced.12 (Nye Report ¶51 & Ex. 12 at 1.) By

comparison, statistically significant price reactions (at the same significance level) occurred on

just 7.9% of days without such announcements. (Id. n.85 & Ex. 11.) “In other words, there were

more likely to be big price movements on days when important [Endo] events occurred,”

demonstrating that the “markets in [these] securities were responsive to new information.” In re

Petrobras Sec. Litig., 312 F.R.D. 354, 367-68 (S.D.N.Y. 2016), aff’d in part, vacated in part sub

nom. In re Petrobras Sec., 862 F.3d 250 (2d Cir. 2017).

       In addition, even though Lead Plaintiff is not required to show directionality—that the price

of Endo ordinary shares increased with new, material Company-specific positive information and

decreased with new, material Company-specific negative information—Dr. Nye’s event study

confirms that directionality further supports efficiency here. See Petrobras, 862 F.3d at 278-79

(“[There is no] blanket rule requiring district courts to, at the class certification stage, rely on

directional event studies and directional event studies alone.”). Specifically, event dates on which

predominantly positive new Company-specific news reached the market are associated with

statistically significant positive returns, and event dates on which predominantly negative new

Company-specific news reached the market are associated with statistically significant negative



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  Courts have also rejected the argument that price reactions on any particular percentage of news
days are required. See Carpenters Pension Trust Fund of St. Louis v. Barclays, 310 F.R.D. 69, 82-
86 (S.D.N.Y. 2015) (finding market efficiency based on price reaction on 5 of 15 event days, but
noting that the court would have found efficiency regardless of Cammer 5).



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returns. (Nye Report ¶52.) On event days that are associated with a statistically insignificant

Company-specific return, Endo’s disclosures were generally in line with expectations, and/or

conveyed a mix of offsetting new positive and negative information, such that the insignificant

price reaction is consistent with that expected in an efficient market. (Id.)

                               (7)     Additional Krogman Factors Further Establish Market
                                       Efficiency

       Each of the three Krogman factors also strongly supports efficiency.

       First, “[m]arket capitalization, calculated as the number of shares multiplied by the

prevailing share price, may be an indicator of market efficiency because there is a greater incentive

for stock purchasers to invest in more highly capitalized corporations.” DVI I, 249 F.R.D. at 212

(quoting Krogman, 202 F.R.D. at 478). During the Class Period, the market capitalization of Endo

ordinary shares was always over $2.6 billion and up to $18.24 billion. (Nye Report ¶54.) As of

the end of the Class Period, Endo’s market capitalization was greater than 85.9% of NASDAQ-

listed companies and 51.0% of NYSE-listed companies. (Id. ¶55.) Numerous courts have found

similar or even far lower market capitalization levels to support market efficiency. See, e.g., DVI

I, 249 F.R.D. at 212 (market capitalization from “$300 million to $12 million” indicative of

efficiency).

       Second, the narrow bid-ask spreads for Endo ordinary shares also support efficiency. “A

large bid-ask spread is indicative of an inefficient market, because it suggests that the stock is too

expensive to trade.” Krogman, 202 F.R.D. at 478. During the Class Period, the average daily bid-

ask spread on Endo ordinary shares was about 0.04%, smaller than the 0.20% average for randomly

sampled stocks listed on the NASDAQ Global Select Market. (Nye Report ¶41.) These narrow

bid-ask spreads compare favorably to the spreads in other cases finding market efficiency. See,

e.g., Wilson, 2018 WL 3913115, at *15 (“relatively narrow” bid-ask spread of 0.07% weighed in



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favor of efficiency); In re Countrywide Fin. Corp. Sec. Litig., 273 F.R.D. 586, 619 (C.D. Cal.

2009) (bid-ask spread of 0.51%).

       Third, when evaluating efficiency, “courts also consider the percentage of shares held by

the public, rather than insiders,” known as the float. Krogman, 202 F.R.D. at 478. A larger float

may be an indicator of market efficiency. (Nye Report ¶57.) During the Class Period, the float

for Endo ordinary shares averaged 99.5% of the ordinary shares outstanding. (Id.) The large

percentage of Endo ordinary shares in the float supports market efficiency. See, e.g., Villella v.

Chem. & Mining Co. of Chile Inc., 333 F.R.D. 39, 54 (S.D.N.Y. 2019) (market float of between

65% and 95%); Wilson, 2018 WL 3913115, at *15 (average public float of 82.41% “exceeds

amounts other courts have deemed sufficient to suggest a finding of market efficiency”).

                       b.      Individual Damages Calculations Will Not Defeat
                               Predominance

       The “law in the Third Circuit” is that “the need to perform individual damages calculations

does not foreclose class certification under Rule 23(b)(3).” DFC Glob. Corp., 2016 WL 4138613,

at *14 (citing Neale v. Volvo Cars of N. Am., LLC, 794 F.3d 353, 374 (3d Cir. 2015)). Thus, Lead

Plaintiff is not required to prove at class certification that damages can be calculated Class-wide.

See Prudential, 2015 WL 5097883, at *13. Nonetheless, as in most securities class actions,

damages here can “be determined by a formula or other means,” and the “mere fact that individual

members of the class may be entitled to different amounts of money damages does not mean that

individual questions predominate.” CIGNA, 2006 WL 2433779, at *5.

       Dr. Nye’s report demonstrates that per-share damages can be determined on a Class-wide

basis by (1) using an event study to isolate Company-specific price movement caused by the

revelation of true facts related to the alleged fraud from price movement caused by other factors,

(2) estimating the price inflation due to the alleged fraud for each day during the Class Period, and



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(3) mechanically calculating damages on an individual basis based on each Class member’s trading

activity. (Nye Report ¶¶59-62.) That is more than sufficient at this stage. See, e.g., Novo Nordisk,

2020 WL 502176, at *9 (certifying class and noting that the court “need not assess the validity of

Plaintiffs’ damages model at this stage”); Perrigo, 333 F.R.D. at 87 (same).

               2.      A Class Action Is Superior

       Finally, Rule 23’s “superiority” requirement is met when a class action is “superior to other

available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

Rule 23(b)(3) provides four factors to guide the analysis: (a) the class members’ interests in

individually controlling the prosecution of separate actions; (b) the extent and nature of any

litigation concerning the controversy already begun by or against class members; (c) the

desirability or undesirability of concentrating the litigation of the claims in the particular forum;

and (d) the likely difficulties in managing a class action. “[C]lass actions are appropriate in

securities cases where a significant number of investors with relatively small losses would likely

have decreased motivation to pursue their claims individually.” Novo Nordisk, 2020 WL 502176,

at *6 (citing Krangel v. Golden Rule Res., Ltd., 194 F.R.D. 501, 506 (E.D. Pa. 2000)).

       Each factor demonstrates the superiority of a class action here. The Class consists of a

large number of investors who are “geographically dispersed and whose individual damages may

well be small enough to render individual litigation prohibitively expensive.” Merck/Vytorin, 2012

WL 4482041, at *8. Concentrating the litigation in this Court has a number of benefits, including

eliminating the risk of inconsistent adjudication. And federal securities class actions are routinely

certified and raise no unusual manageability issues; this case is no different. See CIGNA, 2006

WL 2433779, at *5 (superiority satisfied given “burden of litigating potentially thousands of

individual lawsuits” arising “out of the same set of operative facts,” “need for efficient use of

judicial resources,” and fact that “prohibitive expense of maintaining individual actions would


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likely prevent many individuals from asserting their claims against the Defendants—a clear

departure from the underlying rationale and operation of the federal securities laws”).

                                             CONCLUSION

       For the foregoing reasons, Lead Plaintiff respectfully requests that the Court: (1) certify

this Action as a class action pursuant to Rule 23(a) and (b)(3); (2) appoint Lead Plaintiff as Class

Representative pursuant to Rule 23(a) and (b)(3); and (3) pursuant to Rule 23(g), appoint BFA as

Class Counsel, with Elliott Greenleaf, P.C. as Class Liaison Counsel.

DATED: June 26, 2020                             Respectfully submitted,

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